            Case 5:19-cv-00450-OLG Document 13 Filed 08/12/19 Page 1 of 2


                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

KARLA F. THURS                                   §
                                                 §
vs.                                              §      NO: SA:19-CV-00450-OLG
                                                 §
NAVIENT SOLUTIONS, LLC                           §


                                         SCHEDULING ORDER

      Pursuant to Rule 16, Federal Rules of Civil Procedure, the Court issues the following Scheduling Order:

      1.     A report on alternative dispute resolution in compliance with Local Rule CV-88 shall be filed by
             Tuesday, October 08, 2019. REGARDLESS OF WHETHER THE PARTIES CONCLUDE
             THAT ADR IS APPROPRIATE OR NOT , THE PARTIES SHALL INCLUDE THE NAME,
             ADDRESS AND TELEPHONE NUMBER OF A COURT-APPROVED MEDIATOR OR A
             MEDIATOR AGREED UPON BY BOTH PARTIES IN THEIR ADR REPORT. A list of
             court-approved neutrals and alternative dispute resolution summary form may be obtained at
             www.txwd.uscourts.gov/forms/mediator.asp. If you do not have access to the internet, you may
             call the United States District Clerk’s office at (210) 472-6550 to obtain a copy.

      2.     The parties asserting claims for relief shall submit a written offer of settlement to opposing
             parties by Thursday, November 07, 2019 and each opposing party shall respond, in writing, by
             Thursday, November 21, 2019.

      3.     The parties shall file all motions to amend or supplement pleadings or to join additional parties
             by Monday, September 23, 2019.

      4.     All parties asserting claims for relief shall FILE their designation of testifying experts and
             SERVE on all parties, but not file, the materials required by Fed. R. Civ. P. 26(a)(2)(B) by
             Friday, January 31, 2020. Parties resisting claims for relief shall FILE their designation of
             testifying experts and SERVE on all parties, but not file, the materials required by Fed. R. Civ.
             P. 26(a)(2)(B) by Friday, February 28, 2020. All designations of rebuttal experts shall be
             FILED, and the materials required by Fed. R. Civ. P. 26(a)(2)(B) for such rebuttal experts, to the
             extent not already served, shall be SERVED, within 14 days of receipt of the report of the
             opposing expert.

      5.     An objection to the reliability of an expert’s proposed testimony under Federal Rule of Evidence
             702 shall be made by motion, specifically stating the basis for the objection and identifying the
             objectionable testimony, within (21) days of receipt of the written report of the expert’s proposed
             testimony, or within (21) days of the expert’s deposition, if a deposition is taken, whichever is
             later.

      6.     The parties shall complete all discovery on or before Friday, March 27, 2020. Counsel may by
             agreement continue discovery beyond the deadline, but there will be no intervention by the Court
             except in extraordinary circumstances, and no trial setting will be vacated because of information
             obtained in post-deadline discovery.
       Case 5:19-cv-00450-OLG Document 13 Filed 08/12/19 Page 2 of 2


7.      All dispositive motions shall be filed no later than Friday, May 22, 2020. Dispositive motions
        as defined in Local Rule CV-7(h) and responses to dispositive motions shall be limited to 20
        pages in length.

8.      The parties shall mediate this case on or before Friday, June 19, 2020, unless the parties seek an
        order from the Court excusing them from mediation.

9.      This case is set for pretrial conference on Wednesday, August 19, 2020 at 9:30 a.m.
        The parties should consult Local Rule CV-16(e) regarding matters to be filed in advance of
        a pretrial conference and/or trial.

10.     This case is set for jury selection and trial on Monday, August 24, 2020 at 9:30 a.m.

      SIGNED AND ENTERED this 12th day of August, 2019.



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                                             ORLANDO L. GARCIA
                                             CHIEF U.S. DISTRICT JUDGE
